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 KEM:jw                       UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                CASE NO. 14-20437-CR-LENARD


 UNITED STATES OF AMERICA,

                        Plaintiff,
   vs.

 JOAO LINO,
                   Defendant.
 ___________________________________/


          GOVERNMENT=S MOTION FOR A FINAL ORDER OF FORFEITURE

         The United States of America (AUnited States@), hereby moves for entry of a final order of

 forfeiture in this cause pursuant to Rule 32.2(c)(2) of the Federal Rules of Criminal Procedure and

 in support thereof submits the following:

         1.   On September 4,2014 this Court entered a Preliminary Order of Forfeiture [D.E. 79]

 in favor of the United States and ordered the defendant’s interest in approximately $75,700 in

 United States currency seized from the defendant forfeited to the United States.

         2.   On September 10, 2014, the United States published notice of the Preliminary Order,

 and its intent to dispose of the Property, in accordance with Title 21, United States Code, Section

 853(n)(1) and Rule 32.2(b)(6) of the Federal Rules of Criminal Procedure.

         3.    On June 28, 2015, the United States filed its Declaration of Publication with the

 Clerk of the Court asserting that the Preliminary Order was published on an official government

 internet site (www.forfeiture.gov), consistent with Title 21, United States Code, Section 853(n)(1)

 and Rule 32.2(b)(6)(D) of the Federal Rules of Criminal Procedure, for at least thirty (30)

 consecutive days, beginning on September 10, 2014, and ending on October 9, 2014. [D.E. 81].

         4.     On November 10, 2014, the time for filing a petition for the Property with the Court
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 expired in this cause pursuant to Title 21, United States Code, Section 853(n)(2).

        5.      As of the date of the filing of this motion, no person or entity has filed a petition

 asserting a legal interest in the Property with the Court in accordance with Title 21, United States

 Code, Section 853(n)(2) and the United States is not aware of any person or entity, who or which

 has an interest of record in the Property and has not been given proper notice as required by law.

        WHEREFORE, the United States respectfully requests that this Court enter a Final

 Order of Forfeiture which confirms that all right, title and interest in approximately $75,700 in

 United States currency seized from the defendant ordered forfeited by the Preliminary Order of

 Forfeiture is hereby transferred, forfeited to and vested in the United States of America, pursuant

 to Title 21, U.S.C. ' 853(n)(7).



                                               Respectfully submitted,

                                               WIFREDO A. FERRER
                                               UNITED STATES ATTORNEY

                                       By:      /s/Karen Moore
                                               Karen E. Moore
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                            CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on June 30, 2015, I electronically filed the foregoing

 document with the Clerk of the Court using CMECF.


                                          BY:    /s/Karen E. Moore
                                                 Karen E. Moore
                                                 Assistant United States Attorney




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